  Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 1 of 6. PageID #: 492332




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                     )   MDL 2804
 OPIATE LITIGATION                                )
                                                  )   Case No. 1:17-md-2804
 THIS DOCUMENT RELATES TO:                        )
                                                  )   Judge Dan Aaron Polster
 Track One-B Cases                                )
                                                  )   OPINION AND ORDER
                                                  )

       Before the Court is Plaintiffs’ Motion to Strike or Sever Pharmacy Defendants’ Third-Party

Complaints (Doc. #: 3074). Pharmacy Defendants oppose the Motion (Doc. #: 3105) and Plaintiffs

filed a Reply (Doc. #: 3167). After consideration of all the briefing and for the reasons set forth

below, the Court GRANTS Plaintiffs’ Motion and STRIKES the Third-Party Complaints.

       I.      Background

       In the case underlying the purported third-party claims, Plaintiffs allege, inter alia, the

Pharmacy Defendants created an absolute public nuisance in the Plaintiff Counties by failing to

protect against diversion in their retail dispensing of prescription opioids. See generally

Amendments by Interlineation, doc. ##: 2943, 2944. Plaintiffs claim the Defendants failed to

design or implement policies to protect against diversion and failed to perform adequate due

diligence in violation of the federal Controlled Substances Act (“CSA”) and state and federal laws

and regulations applicable to opioid dispensing. Id. at 5-8. Plaintiffs point to extensive data

Defendants had available that raised “red flags” requiring due diligence before filling

prescriptions, in order to determine whether diversion was likely or instead the prescriptions were

legitimate. Id.; Plaintiffs’ Position Statement, doc. #: 3158 at 1.
  Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 2 of 6. PageID #: 492333



        Pharmacy Defendants characterize the heart of Plaintiffs’ claims as “[Pharmacies] are

liable because their pharmacists filled prescriptions that the Prescriber Defendants wrote.” Third-

Party Compls., doc. ##: 3064, 3065 at ¶ 1. The Pharmacies, as Third-Party Plaintiffs, allege

ultimate responsibility for filling “bad” prescriptions must rest not with them, but with those who

wrote the prescriptions: Jane and John Doe prescribers. Id. at ¶ 10. The Pharmacies thus assert

third-party claims against the Prescribers, seeking recovery for losses incurred “only because the

pharmacists relied in good faith on facially valid prescriptions written and/or authorized by one of

the Prescriber Defendants.” Id. at ¶ 37.

        Plaintiffs ask the Court to strike the Third-Party Complaints, or alternatively to sever the

claims for resolution after the trial set to begin November 9, 2020. Mot. at 1-2. Plaintiffs argue the

purported third-party claims do not fall within the ambit of Federal Rule of Civil Procedure 14 and

that adding them to the case would only delay trial.

        II.    Legal Standard

        Rule 14 of the Federal Rules of Civil Procedure permits a defendant to implead a nonparty

“who is or may be liable to it for all or part of the claims against it.” The essential criterion of a

third-party claim is a “defendant attempting to transfer the liability asserted against him by the

original plaintiff to the third-party defendant.” Am. Zurich. Ins. Co. v. Cooper Tire & Rubber Co.,

512 F.3d 800, 805 (6th Cir. 2008). “The mere fact that the alleged third-party claim arises from

the same transaction or set of facts as the original claim is not enough.” Stiles v. Porter Paint Co.,

75 F.R.D. 617, 619 (E.D. Tenn. 1976) (quoting Wright & Miller, 6 Fed. Prac. & Proc. Civ. § 1446

(3d ed.)).

        Whether to allow a third-party claim to proceed is committed to the discretion of the trial

court. Trane U.S. Inc. v. Meehan, 250 F.R.D. 319, 322 (N.D. Ohio 2008); see also General Elec.



                                                  2
  Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 3 of 6. PageID #: 492334



Co. v. Irvin, 274 F.2d 175, 178 (6th Cir. 1960). The Court can decline to allow third-party claims

that will prejudice plaintiff or unduly delay or complicate trial. See Gutierrez-Morales v. Planck,

318 F.R.D. 332, 335 (E.D. Ky. 2016) (denying leave to file third-party complaints where the claims

were not dependent on the outcome of the main claim and would complicate and delay trial); see

also Galvan v. Honeywell Int’l, No. 07-12670, 2008 WL 11355513, at *2 (E.D. Mich. May 21,

2008).

         III.   Analysis

         The Pharmacies allege that, if they are found liable to Plaintiffs for their conduct in

dispensing prescription opioids, their liability will be based on the negligence or intentional

misconduct of the Prescribers. Opp. at 7; see also Third-Party Compls., doc. ##: 3064, 3065 at

¶ 37. Plaintiffs’ theory of the Pharmacies’ liability for creating a public nuisance is the Pharmacies

violated the CSA and related state laws and regulations when they failed to have in place or utilize

effective screening systems and failed to perform due diligence to prevent diversion prior to filling

prescriptions. Mot. at 7; see generally Plaintiffs’ Position Statement, doc. #: 3158. Thus, whether

the Pharmacies’ claims satisfy Rule 14 turns on whether the Prescribers can be liable to the

Pharmacies for the Pharmacies’ liability to Plaintiffs for creating a public nuisance caused by

failures of the Pharmacies’ anti-diversion systems or due diligence.

         All parties acknowledge pharmacists have a “corresponding responsibility” with

prescribers. See Mot. at 6; Opp. at 5. The parties also agree a pharmacist must refuse to fill a

prescription he knows or has reason to know was not written for a “legitimate medical purpose.”

See Mot. at 6 (citing Medic-Aid Pharmacy, 55 Fed. Reg. 30,043, 30,044 (DEA July 24, 1990));

Doc. ##: 2943, 2944 at 6, ¶ 4 (citing 21 C.F.R. § 1306.04(a)); Opp. at 7. Plaintiffs claim this

requires pharmacists to scrutinize more than just the individual written prescriptions or other



                                                  3
  Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 4 of 6. PageID #: 492335



representations made by prescribers. See Mot. at 7. As such, pharmacists exercise their

responsibility separately and independently of the prescriber and cannot simply rely on the

prescribers’ representations. See Mot. at 6 (citing East Main St. Pharmacy, 75 Fed. Reg. 66149,

66157 n.30 (DEA 2010)). Moreover, Plaintiffs allege federal and state laws and regulations require

Pharmacies to design and operate systems to guard against diversion of controlled substances, doc.

##: 2943, 2944 at 6-8, ¶ 3-7, and the Pharmacies have data that allows them to monitor for

suspicious subscriptions and identify and prevent possible diversion, id. at 8-14. See Mot. at 7.

Plaintiffs claim the Pharmacies’ failure to fulfill these legal obligations created a public nuisance.

       The third-party Prescribers’ liability to the Pharmacies is not dependent on Plaintiffs’

claims. While Plaintiffs’ claims implicate whether the Pharmacies knew or had reason to know the

Prescribers’ prescriptions were for a legitimate medical purpose, Plaintiffs’ theory and intended

proof do not rely on whether Prescribers made negligent or fraudulent representations. That is,

Plaintiffs do not merely allege the Pharmacies are liable for filling prescriptions the Prescribers

wrote. Plaintiffs’ proof will look beyond the Prescribers’ representations and will focus on

Pharmacies’ policies and procedures, through analysis of aggregate dispensing data showing the

entirety of the information the Pharmacies had when dispensing opioids. See Reply at 2; Doc. #:

3158 at 8. After hearing this evidence, the jury will be tasked with deciding whether the Pharmacies

engaged in intentional or unlawful conduct. Thus, a finding of Defendants’ liability will be based

on the distinct duties of the Pharmacies, involving facts largely independent of any individual

Prescriber or prescription.

       Defendants primarily cite to their own Third-Party Complaints to argue their claims against

the Prescribers are dependent on Plaintiffs’ claims. See Opp. at 4-5 (citing ¶¶ 1, 10, 37). While

acknowledging their corresponding responsibility, see Opp. at 5, the Pharmacies simultaneously



                                                  4
    Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 5 of 6. PageID #: 492336



maintain that any improper dispensing was done only as a result of negligence or intentional

misconduct of a Prescriber, see Third-Party Compls., doc. ## 3064, 3065 at ¶ 60; Opp. at 7. The

Pharmacies do not identify any authority imposing on a prescriber liability for a pharmacist’s

failure to fulfill its corresponding responsibility, or apportioning liability between prescribers and

pharmacies for injuries caused by illegitimate prescriptions. The Court finds no basis on which the

Pharmacies can simply transfer to Prescribers their liability to Plaintiffs for failing to rely upon (or

ignoring) information beyond an individual prescription or Prescriber’s representations when

dispensing opioids. Therefore, the Pharmacies have not asserted third-party claims within Rule 14.

         Additionally, it is undisputed that the addition of these claims and parties will cause the

trial to be much more complex and will force significant delay. Mot. at 10-11; Opp. at 9-10. The

current schedule contemplates trial will begin November 9, 2020. See Civil Jury Trial Order, doc.

#: 3234. This schedule cannot be maintained if the currently-unidentified third-party defendants

are added to the case. The Pharmacies state they will identify prescribers after Plaintiffs identify

red flag prescriptions, which Plaintiffs did on March 20th. The Pharmacies will first need to identify

the Prescriber corresponding to each relevant prescription, amend the Complaint to name these

Prescribers, then locate and serve each Prescriber. Only after that time-consuming process is

complete will the parties be able to begin discovery of these new parties and claims. This additional

discovery, including written discovery and depositions of possibly hundreds of Prescribers,

undoubtedly would take many months. The Pharmacies have not suggested a timeline, but

permitting the third-party claims would require an indefinite postponement of the November 9,

2020 trial. 1




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  While a finding of delay and prejudice might support severing, rather than striking, the third-party claims, because
the Court concludes the claims do not fall within Rule 14, striking them is appropriate.

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 Case: 1:17-md-02804-DAP Doc #: 3246 Filed: 03/31/20 6 of 6. PageID #: 492337



       IV.    Conclusion

       Accordingly, the Court GRANTS Plaintiffs’ Motion to Strike or Sever Pharmacy

Defendants’ Third-Party Complaints, Doc. #: 3074, and STRIKES the Third-Party Complaints,

Doc. ##: 3064, 3065.

              IT IS SO ORDERED.



                                            /s/ Dan Aaron Polster_March 31, 2020_
                                            DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE




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